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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARVIN PETE WALKER,                                Case No. C-94-1997-PJH
                                                        Petitioner,
                                   8
                                                 v.                                         JUDGMENT
                                   9

                                  10     RON BROOMFIELD, Acting Warden,
                                         San Quentin State Prison,
                                  11                    Respondent.
                                  12
Northern District of California
 United States District Court




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                                              Pursuant to Ninth Circuit’s decision and mandate, (ECF Doc. Nos. 265 & 266), the
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                                       petition is GRANTED on the basis of claim 6 alleging a violation of Batson v. Kentucky, 476
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                                       U.S. 79 (1986). Judgment is hereby entered in favor of Petitioner and against Respondent.
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                                       In view of the Court’s grant of the petition, Petitioner is entitled to a new trial. The State of
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                                       California shall either commence proceedings to retry Petitioner in accordance with California
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                                       State law and the United States Constitution within 120 days of the date of this Order or
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                                       release him.
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                                              IT IS SO ORDERED.
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                                       Dated: August 26, 2020
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                                  23                                                                 /s/ Phyllis J. Hamilton
                                  24                                                                PHYLLIS J. HAMILTON
                                                                                                    United States Chief District Judge
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